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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                 LUBBOCK DIVISION

FIRST BANK & TRUST,                    §
                                       §
              Plaintiff,               §
v.                                     §
                                       §
REAGOR AUTO MALL, LTD. d/b/a           §
REAGOR-DYKES OF LEVELLAND,             §     CAUSE NO. 5:18-cv-00234-C
and d/b/a REAGOR-DYKES IMPORTS,        §
FIRSTCAPITAL BANK OF TEXAS,            §
N.A., BART REAGOR, RICK DYKES,         §
SHANE SMITH, SHEILA MILLER,            §
BRAD D. BURGESS, and KENNETH L.        §
BURGESS,                               §
                                       §
              Defendants.              §



                        DEFENDANT FIRSTCAPITAL BANK’S
                     BRIEF IN SUPPORT OF MOTION TO DISMISS



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         The Defendant FirstCapital Bank of Texas, N.A. (“FirstCapital”) files this Brief in

Support of Motion to Dismiss pertaining to the Amended Complaint of Plaintiff First Bank &

Trust (“FB&T”), associated with Reagor Dykes Auto Mall, Ltd. (“RAM”).

                                        I.   INTRODUCTION

         1.       There are two questions to answer in this case: First, did FirstCapital meet its

“midnight deadline” to return $1,091,544 in dishonored RAM checks to FB&T? Yes it did, so

FB&T’s claims against FirstCapital relating to those checks fail. Second, switching roles, did

FB&T meet its midnight deadline to return $487,167 in dishonored RAM checks to FirstCapital?

It did not, so FB&T’s claims against FirstCapital relating to those checks also fail. In short, the

entirety of FB&T’s lawsuit against FirstCapital should be dismissed for failure to state a claim.

         2.       To provide context, FirstCapital and FB&T are competing banks and both are

victims of a check kiting scheme perpetrated by RAM. Once a check kite becomes apparent, the

universally-recognized prudent step for banks to take is to freeze accounts and return checks to

the presenting banks. That brings the kite to an end and the law provides a mechanism for

allocating the losses among the banks caught up in the kite.

         3.       FB&T brings six claims against FirstCapital seeking over $1.5 million pertaining

to RAM’s check kite. The two claims tied to the Uniform Commercial Code (“UCC”) and a

related federal regulation fail as a matter of law because FirstCapital satisfied the limited duties it

owed to FB&T imposed by the UCC and the regulation. The other four common law tort and

contract-based claims fail, as well, because the field of law relating to the clearance of checks

and allocation of losses in a check kite has been pre-empted by the UCC and federal law.

         4.       In this case, FB&T refers to four batches of checks, three FB&T submitted for

payment and one FirstCapital submitted for payment. The first batch totaled $602,280 and was



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presented to FirstCapital for payment on July 30th. FirstCapital’s return deadline was July 31st, a

deadline that FirstCapital concedes it missed. However, there is a process through the Federal

Reserve system for FB&T to reverse the credits FirstCapital received for those checks. FB&T

recognizes this as it does not seek recovery for these checks. Thus, notwithstanding all of the

sound and fury in FB&T’s Amended Complaint about FirstCapital having a “special insider

relationship” with Rick Dykes and “scrambling to dishonor and return checks” on July 31st, it is

all irrelevant. This is because FirstCapital could not and did not meet the midnight deadline on

July 31st. FirstCapital recognizes this and does not dispute that the UCC loss allocation process

assures FB&T that it will recoup these funds totaling $602,280. These allegations drawn from

FB&T’s Amended Complaint are set forth below:

          Amount FB&T
                                                                                                      August 1
Batch       Seeks to             July 27 (Fri)         July 30 (Mon)         July 31 (Tues)
            Recover                                                                                    (Wed)
                             FB&T sends                FirstCapital         FirstCapital          FirstCapital
                             outgoing cash letter      receives             midnight              returned checks
                             to Federal Reserve        presentment of       deadline to           to Federal
                             containing                FB&T’s RAM           return and            Reserve, but
    1            $0
                             $602,280 in RAM           checks by            dishonor FB&T         missed July
                             checks drawn on           incoming             RAM checks to         31st midnight
                             FirstCapital              Federal Reserve      Federal               deadline. 4
                             accounts. 1               Cash letter 2        Reserve 3

         5.       Instead, what this case is about are three remaining batches of checks, two that

FB&T presented to FirstCapital, and one that FirstCapital presented to FB&T. FB&T presented

(or “pitched” to use a baseball metaphor) RAM checks by its outgoing July 30th cash letter to the

Federal Reserve and the presentment was received (or “caught”) by FirstCapital from the Federal

Reserve on July 31st totaling $588,636. Another batch of RAM checks was presented (or

pitched) by FB&T by its outgoing July 31st cash letter to the Federal Reserve and the

1
  See Amended Complaint, ¶¶72, 76, 199.
2
  See id. FB&T’s July 27th outgoing cash letter would necessarily have been received by FirstCapital on July 30th.
3
  See Amended Complaint, ¶78, 199.
4
  See Amended Complaint, ¶¶76, 78, 199.

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presentment was received (or caught) by FirstCapital from the Federal Reserve on August 1st

totaling $502,908. First Capital, as the catcher, met the return midnight deadlines to the Federal

Reserve on August 1st and August 2nd, respectively. These allegations drawn from FB&T’s

Amended Complaint are set forth below:

           Amount FB&T                                                                                     Aug. 2
Batch     Seeks to Recover
                                 July 30 (Mon.)           July 31 (Tues.)         Aug. 1 (Wed.)
                                                                                                          (Thurs.)
                               FB&T sends               FirstCapital             FirstCapital met
                               outgoing cash            receives                 midnight
                               letter to Federal        presentment of           deadline to
                               Reserve                  FB&T’s RAM               return and
    2         $588,636         containing               checks by                dishonor FB&T
                               $588,636 in RAM          incoming Federal         RAM checks to
                               checks drawn on          Reserve Cash             Federal
                               FirstCapital             letter. 6                Reserve. 7
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                                                        FB&T sends               FirstCapital          FirstCapital
                                                        outgoing cash            receives              met midnight
                                                        letter to Federal        presentment of        deadline to
                                                        Reserve                  FB&T’s RAM            return and
    3         $502,908                                  containing               checks by             dishonor
                                                        $502,908 in RAM          incoming              FB&T RAM
                                                        checks drawn on          Federal Reserve       checks to
                                                        FirstCapital             Cash letter. 9        Federal
                                                        accounts. 8                                    Reserve. 10

         6.       Switching roles as pitcher and catcher, FB&T also seeks to recover for $487,167

in RAM checks drawn on FB&T accounts that were deposited into FirstCapital accounts and

presented (or pitched) for payment by FirstCapital’s outgoing July 30th cash letter to the Federal

Reserve and received (or caught) by FB&T from the Federal Reserve on July 31st. FB&T, as

catcher of those checks, missed the August 1st midnight deadline to return and dishonor the

checks. These allegations drawn from FB&T’s Amended Complaint are set forth below:
5
  See Amended Complaint, ¶¶76, 199.
6
   See id. FB&T’s July 30th outgoing cash letter would necessarily have been received by FirstCapital on July 31st.
7
  See id. FirstCapital’s midnight deadline would necessarily have been August 1st and FB&T does not allege that
FirstCapital missed the midnight deadline.
8
  See Amended Complaint, ¶¶77.
9
  See id. FirstCapital would necessarily have received FB&T’s outgoing cash letter on August 1st.
10
   See id. FB&T alleges it received notice of dishonor by FirstCapital on August 3rd meaning that FirstCapital timely
returned the checks by its midnight deadline on August 2nd.

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            Amount FB&T
Batch      Seeks to Recover
                                        July 30 (Mon.)         July 31 (Tues.)           August 1 (Wed.)
                                FirstCapital sends          FB&T receives             FB&T missed
                                outgoing cash letter to     presentment of            midnight deadline to
                                Federal Reserve             FirstCapital’s RAM        return and dishonor
     4        $487,167
                                containing $487,167         checks by incoming        First Capital RAM
                                in RAM checks drawn         Federal Reserve           checks to Federal
                                on FB&T accounts. 11        Cash letter. 12           Reserve. 13

         7.       Thus, for the checks at issue in this case, FirstCapital met its midnight deadlines

for checks totaling $1,091,544, and FB&T missed its midnight deadline for checks totaling

$487,167. As a matter of law under the UCC and related federal regulations, FirstCapital

satisfied its duty, as well as any obligations of ordinary care and good faith that go along with

that duty, so that there is no legal basis for the claims and damages exceeding $1.5 million 14

asserted here by FB&T.

         8.       To divert attention from the bright lines established in the UCC for the return and

dishonor of checks, FB&T chooses instead to distort the facts and use sinister-sounding words to

try to make its case based on alleged misconduct of FirstCapital occurring over 24 hours before

the first midnight deadline on August 1st. Allegations such as these led one court to label the

bank’s argument as “specious” where the case was so clearly determined under the UCC and

regulatory framework. 15 FB&T cannot cite to any law that says FirstCapital could not move to

protect its own interest once it learned “of Ford’s impending legal action, Reagor-Dykes’ severe

financial problems, and Reagor-Dykes’ planned bankruptcy filing” as alleged by FB&T. 16




11
   See Amended Complaint, ¶¶74. Checks presented to FB&T on July 31st were necessarily sent out in
FirstCapital’s outgoing cash letter on July 30th.
12
   See id.
13
   See id. By FB&T’s own admission, it paid the RAM checks and it therefore did not meet the deadline on August
1st to return and dishonor checks.
14
   See Amended Complaint, ¶¶63, 69, 81, 84, 188, 193, 197, 208, 214, 218.
15
   First Financial Bank, N.A. v. Citibank, N.A., No. 1:11-CV-226, 2012 U.S. Dist. LEXIS 104883, at *25-26 (S.D.
Ind., July 27, 2012).
16
   Amended Complaint, ¶66.

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         9.       A host of cases and other authorities emphasize the need for quick action under

these circumstances and they recognize that freezing accounts, returning checks, and accepting

deposits are the prudent things for banks to do to protect their own interests, even if it means

competing banks will suffer losses. Regarding a collapsed check kite and the need for quick

action, one court said it this way, “As in the game of musical chairs, [the last bank] was left

without a chair.” 17      For those checks totaling $602,280 for which FirstCapital missed the

midnight deadline, FirstCapital will be left without a chair. For those checks totaling $1,091,544

for which FirstCapital met the midnight deadline, FB&T will be left without a chair. For those

checks totaling $487,167 for which FB&T missed the midnight deadline, FB&T will be left

without a chair. This case is that simple and all of FB&T’s claims should be dismissed for

failure to state a claim.

                              II.       ARGUMENT AND AUTHORITIES

A.       Motion to Dismiss Standard

         10.      Federal Rule 12(b)(6) allows dismissal if a plaintiff fails ''to state a claim upon

which relief can be granted." To survive a motion to dismiss under Rule 12(b)(6), a plaintiff

must demonstrate that the complaint provides fair notice of plaintiff’s claims. 18 The facts

alleged must sufficiently show a plausible claim for relief. 19

         11.      Although "the pleading standard Rule 8 announces does not require 'detailed

factual allegations,'” “it demands more than 'labels and conclusions."' 20 “The complaint must

contain either direct allegations on every material point necessary to sustain a recovery . . . or

contain allegations from which an inference fairly may be drawn under the relevant legal

17
   Ennis State Bank v. Heritage Bank, No. 10-02-226-CV, 2004 Tex. App. LEXIS 4355, at *2 (Tex. App. - - Waco,
May 12, 2004, pet. denied).
18
   Conley v. Gibson, 355 U.S. 41, 47 (1974).
19
   Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 569 (2007).
20
   See Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Twombly, 550 U.S. at 555).

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theory.” 21 Additionally, while courts are required to take all factual allegations found in a

complaint as true for purposes of a motion to dismiss, a court is "not bound to accept as true a

legal conclusion couched as a factual allegation." 22

         12.      Accordingly, a court considering a 12(b)(6) motion to dismiss must, first,

determine which facts in the complaint deserve the assumption of truth by identifying the non-

conclusory factual allegations in the complaint, and second, drawing all inferences in favor of the

plaintiff, must decide whether the non-conclusory allegations plausibly give rise to an

entitlement of relief. 23 “'[W]hen the allegations in a complaint, however true, could not raise a

claim of entitlement to relief, this basic deficiency should . . . be exposed at the point of

minimum expenditure of time and money by the parties and the court.'" 24

         13.      Further, Federal Rule 9(b) requires that fraud-based claims “state with

particularity the circumstances constituting fraud.”

B.       The Law Regarding the Allocation of Losses Upon the Collapse of a Check Kite.

         14.      The allocation of losses suffered by banks that find themselves victimized by a

mutual customer’s check kiting scheme is governed the UCC and related federal regulations. To

understand the situation, some background information is helpful.

         1.       What is a Check Kite?

         15.      One court described a check kite this way:

         Check kiting is possible because of a combination of two rules found in Article 4
         of the Uniform Commercial Code. Under §4.208(1), a depositary bank may allow
         a customer to draw on uncollected funds, that is, checks that have been deposited
         but not yet paid. Second, under §§4-301 and 4-302, a payor bank must either pay
         or dishonor a check drawn on it by midnight of the second banking day following
21
   Campbell v. City of San Antonio, 43 F.3d 973, 975 (5th Cir. 1995) (quoting 3 C. Wright & A. Miller, Fed. Prac. &
Proc.: Civil 2d § 1216 at 156-59).
22
   Iqbal, 566 U.S. at 678-79 (noting that Rule 8 "does not unlock the doors for discovery for a plaintiff armed with
nothing more than conclusions").
23
   See Iqbal, 566 U.S. at 679.
24
   Cuvillier v. Taylor, 503 F.3d 397, 401 (5th Cir. 2007) (quoting Twombly, 550 U.S. at 558).

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         presentment. Thus when a kite is operating, the depositary bank allows the kiter
         to draw on uncollected funds based on a deposit of a check. The depositary bank
         presents that check to the payor bank, which must decide whether to pay or return
         the check before the midnight deadline. The check may appear to be covered by
         uncollected funds at the payor bank, and so the payor bank may decide to pay the
         check by allowing the midnight deadline to pass.

         A kite crashes when one of the banks dishonors checks drawn on it and returns
         them to the other banks involved in the kite. Usually, such a dishonor occurs
         when one bank suspects a kite. However, an individual bank may have trouble
         detecting a check kiting scheme. Until one has devoted a substantial amount of
         time examining not only one’s own account, but accounts at other banks, it may
         be impossible to know whether the customer is engaged in a legitimate movement
         of funds or illegitimate kiting. But each bank is usually able to monitor only its
         own account, and there is no certain test that distinguishes one who writes many
         checks on low balances from a check kiter. 25

         16.      FB&T’s practice of allowing RAM to access uncollected funds - - that is, giving

RAM immediate access to funds before its deposited checks had been collected - - is what

exposed FB&T to the risk of RAM’s check kite. “Without uncollected funds, there can be no

check kite.” 26 Banks can protect themselves from check kites in a number of ways. The bank

can require the customer to pledge collateral to secure uncollected funds, or the bank can simply

place a hold on uncollected funds until the funds are collected. 27 In the end, it was FB&T, and

no one else, that made the choice to expose itself to the risks associated with uncollected funds.

         2.       How Should a Bank Respond to a Check Kite?

         17.      When a check kite is suspected, quick decisions and actions must be taken. As

one commentator said, “A drawee bank [i.e. payor bank] which discovers a kite must

immediately start returning checks to the collecting bank. There simply is no time to lose and




25
   First National Bank v. Colonial Bank, 898 F. Supp. 1220, 1222-23 (N.D. Ill. 1995) (citations omitted).
26
   McCurnin and Frandsen, Grounding Check Kiting with Check 21: The Civil and Criminal Ramifications of
Check Kiting in the 21st Century, THE BANKING LAW JOURNAL, at 298-299 (A copy of this journal article is
contained in the separately-filed Appendix at Exhibit A, beginning at 001. Cited pages are at 004 - 005).
27
   12 C.F.R. §229.13. See also, Citizens National Bank v. First National Bank, 347 So.2d 964, 967 (Miss. 1977)
(depositary bank had the right to refuse to credit customer’s account until checks cleared).

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delay may mean losing the right to return the checks to the collecting bank.” 28 Further, “After

the kite has been discovered, the first thing the bank must do is freeze the account and return all

checks drawn on the account.” 29 Also, to not act quickly would be a potential breach of

fiduciary duties owed by FirstCapital officers to the institution they serve: FirstCapital. 30

         18.      Should a bank that discovers a kite contact other banks? As one commentator

says, “Contacting the other banks where the kiter was using can be touchy because of privacy

and inter-bank liability issues. Improper disclosure of customer information to another bank

investigator could impose liability to the bank . . .” 31

         3.       What Law Applies?

                  a.       UCC and Federal Regulations Govern Check Clearing Process and
                           Allocation of Losses Caused by a Check Kite.

         19.      The duties owed by banks in the check collection process and the allocation of

losses arising from a check kite are governed by the UCC and it provides a comprehensive

scheme for the check handling process that provides the basis for any duties among the banks

involved in the check clearing process. Common law and other non-UCC claims are barred. 32

         20.      The UCC is a codification of rules “carefully integrated and intended as a uniform

codification of permanent character covering an entire ‘field’ of law.’” 33 “The UCC contains a

comprehensive and carefully considered allocation of responsibility in banking relationships.”34

Article 3 of the UCC “establishes a comprehensive scheme governing the procedures, liabilities,

28
   McCurnin and Frandsen, Grounding Check Kiting with Check 21: The Civil and Criminal Ramifications of Check
Kiting in the 21st Century, THE BANKING LAW JOURNAL, at 306 (Appendix at Exhibit A, at 012).
29
   Id. at 307 (Appendix at Exhibit A, at 013).
30
   Ritchie v. Rupe, 433 S.W.3d 856, 868-69 (Tex. 2014) (corporate officers and directors owe the corporation
fiduciary duties of obedience, loyalty, and due care).
31
   McCurnin and Frandsen, Grounding Check Kiting with Check 21: The Civil and Criminal Ramifications of Check
Kiting in the 21st Century, THE BANKING LAW JOURNAL, at 310 (Appendix at Exhibit A, at 016).
32
   See discussion of preemption of other claims at ¶¶55-59, infra.
33
   Southwest Bank v. Information Support Concepts, Inc., 149 S.W.3d 104, 109 (Tex. 2004) (quoting Texas Business
& Commerce Code, §1.104, comment 1).
34
   Id. at 107.

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and remedies pertaining to negotiable instruments, including checks.” 35 Article 4 of the UCC

“establishes the rights and duties between banks and their customers regarding deposits and

collections.” 36

         21.       The check clearing process is also affected by Regulation CC of the Board of

Governors Federal Reserve System 37 promulgated under the authority granted by Congress

under the Expedited Funds Availability Act (“EFFA”). 38

         22.       The duties of banks in the check clearing process are precisely defined and very

limited in recognition of the fact that competing banks do not owe broader common law duties to

each other. 39 The UCC provides that, “Every contract or duty within this title imposes an

obligation of good faith in its performance or enforcement.” 40 Regulation CC requires that, “A

bank shall exercise ordinary care and act in good faith in complying with the requirements of this

subpart.” 41

         23.       But the obligations to exercise ordinary care and act in good faith do not exist

independent of a duty. 42 So what are the duties the UCC and Regulation CC impose on banks

relative to one another in the check clearing process arising from a mutual customer’s check

kiting scheme?




35
   ½ Price Checks Cashed v. United Auto Ins. Co., 344 S.W. 378, 380 (Tex. 2011).
36
   American Airlines Employees Fed. Credit Union v. Martin, 29 S.W.3d 86, 91 (Tex. 2000).
37
   12 C.F.R. §229
38
   12 U.S.C. §4001, et seq.
39
   See discussion of common law duties between competing banks at ¶60, infra.
40
   Tex. Bus. & Comm. Code, §1.304.
41
   12 C.F.R. §229.38(a) (emphasis added).
42
   See generally, Midwestern Cattle Mktg. LLC v. Legend Bank, N.A., No. 4:17-CV-375-A, 2018 U.S. Dist. LEXIS
82291, at *7-9 (Tex. App. - - Ft. Worth, May 16, 2018, appeal pending); Wells Fargo Bank, N.A. v. Citizens Bank of
Texas, N.A. 181 S.W.3d 790, 804 (Tex. App. - - Waco 2005, pet.denied); Ennis State Bank v. Heritage Bank, No.
10-02-226-CV, Tex. App. LEXIS 4355, at *2-5 (Tex. App. - - Waco, May 12, 2004, pet. denied).

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                      1) UCC Duties

         24.       UCC duties depend on the role a bank has in the check clearing process. The

relevant roles under Article 4 here are “payor bank”, which is defined as the “drawee of a

draft”, 43 and “drawee” is defined as “a person ordered in a draft to make payment.” 44 Under

Article 4, a “depositary bank” is the “first bank to take an item.” 45 Accordingly, the roles of

FirstCapital and FB&T regarding the checks at issue are as follows:

          Batch                    Total Amount                   Payor Bank                  Depositary Bank
          2&3                        $1,091,544                    FirstCapital                      FB&T
               4                        $487,167                      FB&T                       FirstCapital

         25.       The payor bank is required to pay or dishonor by the applicable midnight

deadline. 46 “Midnight deadline” is defined “with respect to a bank [as] midnight on its next

banking day following the banking day on which it receives the relevant item or notice or from

which time for taking action commences to run, whichever is later.” That is, checks presented

for payment to the payor bank on banking day 1 are required to be paid or dishonored by

midnight of banking day 2. 47

         26.       A payor bank is “accountable for the amount of the check presented to it for

payment if it does not pay or return the item or send notice of dishonor until after its midnight

deadline.” 48 The UCC duty imposed on FirstCapital and FB&T in their payor bank roles is one




43
   Tex. Bus. & Comm. Code, §4.105(3).
44
   Tex. Bus. & Comm. Code, §4.104(a)(8.
45
   Tex. Bus. & Comm. Code, §4.105(2).
46
   Tex. Bus. & Comm. Code, §4.302(a)(1).
47
   “Banking day” is defined as “the part of a day on which a bank is open to the public for carrying on substantially
all of its banking functions.” Tex. Bus. & Comm. Code §4.104(a)(3).
48
   Tex. Bus. & Comm. Code, §4.302(a)(1) (emphasis added).

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of strict liability, 49 so any obligation of ordinary care or good faith is irrelevant.                    Either

FirstCapital and FB&T met their UCC midnight deadlines or they didn’t.

                      2) Regulation CC Duties

         27.      Layered on top of the UCC framework is the federal EFFA 50 and Regulation CC 51

promulgated pursuant to the EFFA. Regulation CC 52 sets forth the standard of care for

complying with the federal regulation requiring that, “A bank shall exercise ordinary care and act

in good faith in complying with the requirements of this subpart.” 53

         28.      Regulation CC contains rules to expedite the collection and return of checks by

banks. 54 Regulation CC is further broken down into subparts. Subpart C 55 covers, among other

things, the manner in which the payor bank must return checks to the depositary bank,

notification of nonpayment by the paying bank, presentment of checks, and the liability of banks

for failure to comply with Subpart C. 56

C.       FB&T’s UCC and Regulatory Claims Fail as a Matter of Law.

         29.      FB&T brings Count 17 premised on the UCC and Count 16 premised on the

EFFA and related Subpart C. While based on the correct body of law, the claims fail as a matter

of law under FB&T’s allegations.

         1.       UCC Claim Fails


49
   Ennis State Bank v. Heritage Bank, No. 10-02-226-CV, Tex. App. LEXIS 4355, at *6-7 (Tex. App. - - Waco, May
12, 2004, pet. denied) (“Accountable means that the payor bank is strictly liable for the amount of the check.”)
(emphasis added). See also, First National Bank v. Colonial Bank, 898 F. Supp. 1220, 1226 (N.D. Ill. 1995) (“The
operative word in this section is ‘accountable.’ Courts interpreting this section have nearly unanimously concluded
that §4.302 imposes strict liability on a payor bank for failing to adhere to the midnight deadline, and make the
measure of damages the face amount of the check.”).
50
   12 U.S.C. §4001, et seq.
51
   12 C.F.R., Part 229, Subpart C.
52
   12 C.F.R. §229.38(a).
53
   12 C.F.R. §229.38(a) (emphasis added). See also, Bank One Chicago., N.A. v. Midwest Bank & Trust Co., 516
U.S. 264, 268 (1996) (stating that ordinary care and good faith compliance obligations relate to Subpart C).
54
   12 C.F.R. §229.1(b)(3).
55
   12 C.F.R. §229.30-43.
56
   12 C.F.R. §229.1(b)(3).

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                   a.      First Capital Met its Midnight Deadlines

             30.   Again, the UCC requires a payor bank to return and give notice of dishonor of

checks presented for payment by midnight of the following day, or the payor bank becomes

“accountable for the amount of the check presented to it for payment. . .” 57 This is the only duty

pertaining to the return and dishonor of checks that FirstCapital owed to FB&T under the UCC

pertaining to batches 2 and 3 and it is a duty of strict liability. 58

             31.   FB&T concedes, as it must, that FirstCapital met its midnight deadlines to

dishonor and return batch 2, as reflected in the timeline below: 59

     Batch              July 30 (Mon)                   July 31 (Tues)                  Aug. 1 (Wed)
               FB&T sends outgoing cash            FirstCapital receives          FirstCapital met midnight
               letter to Federal Reserve           presentment of FB&T’s          deadline to return and
         2     containing $588,636 in RAM          RAM checks by                  dishonor FB&T RAM
               checks drawn on FirstCapital        incoming Federal               checks to Federal
               accounts.                           Reserve Cash letter            Reserve.
             32.   Thus, FB&T’s own allegations demonstrate that FirstCapital met the midnight

deadline to return $588,636 in RAM checks.

             33.   Similarly, FB&T does not allege or contest the fact that RAM checks presented

by FB&T to FirstCapital for payment on August 1st totaling $502,908 (batch 3) were timely

dishonored and returned by FirstCapital by midnight on August 2nd. 60 Here is the sequence of

events associated with these checks: 61

Batch                  July 31 (Tues.)                      August 1 (Wed.)             August 2 (Thurs.)
              FB&T sends outgoing cash letter         FirstCapital receives           FirstCapital met
              to Federal Reserve containing           presentment of FB&T’s           midnight deadline to
     3        $502,908 in RAM checks drawn            RAM checks by incoming          return and dishonor
              on FirstCapital accounts.               Federal Reserve Cash            FB&T RAM checks
                                                      letter.                         to Federal Reserve.


57
   Tex. Bus. & Comm. Code, §4.302(a)(1).
58
   See supra at ¶26.
59
   See chart in ¶5 above for pin citations to allegations in Amended Complaint.
60
   See Amended Complaint, ¶77 (not alleging untimely dishonor).
61
   See chart in ¶5 above for pin citations to allegations in Amended Complaint.

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          34.     Thus, FB&T’s own allegations demonstrate that FirstCapital met the midnight

deadline to return $502,908 in RAM checks.

                  b.       FB&T is Not Entitled to Restitution under the UCC for Checks
                           Presented by FirstCapital.

          35.     Despite FirstCapital’s timely returns, FB&T says it “should be awarded recovery

of the payments it made to FirstCapital, because First Bank is entitled to restitution [under UCC

§3.418 for] FirstCapital’s simultaneous dishonor of items presented for payment by First Bank,

late return of RAM checks, and erroneously stating the reason of the returns . . .” 62

          36.     Section 3.418 (b) and (c), upon which FB&T relies, reads as follows:

          (b) Except as provided in Subsection (c), if an instrument has been paid or
          accepted by mistake and the case is not covered by Subsection (a), the person
          paying or accepting may, to the extent permitted by the law governing mistake
          and restitution:

                  (1) recover the payment from the person to whom or for whose
                  benefit payment was made; or
                  (2) in the case of acceptance, revoke the acceptance.

          (c) The remedies provided by Subsection (a) or (b) may not be asserted against a
          person who took the instrument in good faith and for value or who in good faith
          changed position in reliance on the payment or acceptance…

          37.     By its own terms, section 3.418 only applies to mistaken payments. There was no

mistake here. FB&T made a calculated business decision to extend RAM credit for uncollected

funds and its remedy is against RAM. If RAM can’t or won’t pay, FB&T has no one to blame

but itself for a risk that FB&T willingly accepted.




62
     Amended Complaint, ¶201.

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           38.    Further, this restitutionary remedy only applies to “drawees”. 63 A drawee bank is

also referred to as the payor bank. 64 Therefore, FB&T’s restitution claim, if any, can only relate

to batch 4 where FB&T was the payor/drawee bank. These checks are summarized as follows: 65

     Batch          July 30 (Mon.)                     July 31 (Tues.)                August 1 (Wed.)
             FirstCapital sends outgoing         FB&T receives                     FB&T missed midnight
             cash letter to Federal Reserve      presentment of                    deadline to return and
       4     containing $487,167 in RAM          FirstCapital’s RAM checks         dishonor First Capital
             checks drawn on FB&T                by incoming Federal               RAM checks to Federal
             accounts.                           Reserve Cash letter.              Reserve.

           39.    Accepting FB&T’s contentions for the sake of argument, it complains about what

it asserts was the dishonor of its presentment of $1,091,544 (batches 1 and 2) in RAM checks to

FirstCapital, and FirstCapital’s simultaneous presentment of $487,167 (batch 4) in RAM checks

to FB&T.

           40.    This type of argument was debunked in an often cited case: Citizens National

Bank v. First National Bank, 347 So. 2d 964 (Miss. 1977).                     In that case, First National

discovered a check kite by its customer, but the bank did not immediately notify Citizens

National, a competing bank that also had accounts belonging to the kiter. Instead, First National

began returning checks drawn on the kiter’s accounts at First National. It also continued to

accept deposits from the kiter drawn on accounts at Citizens National.

           41.    The Citizens National court found no duty and no liability saying the following:

           These two banks were competitors in the banking field and ordinarily banks deal
           with each other at arm’s length. The bill does not allege any circumstances or
           facts that tend to show that a confidential or fiduciary relationship existed
           between these two banks, neither does it show that there is any requirement in the
           banking field that one bank notify another of its discovery of a customer kiting
           checks. In the absence of a fiduciary or confidential relationship, or some other

63
   Quilling v. Compass Bank, CA No. 3:03-CV-2180-R, 2004 U.S. Dist. LEXIS, 18811, at *23-24 (September 17,
2004, N.D. Tex.).
64
   BLACK’S LAW DICTIONARY, 601 (10th ed.) (“The drawee is usu. a bank that is directed to pay a sum of money on
an instrument. UCC §105(3).- Also termed payor; payor bank.”)
65
   See chart in ¶6 above for pin citations to allegations in Amended Complaint.

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           legal duty, First National Bank had no duty to inform Citizens National Bank that
           Duran was kiting checks. That being true, we are of the opinion that First
           National Bank had the legal right to continue to accept for deposit checks drawn
           by Duran on accounts at Citizens National Bank and present those checks for
           payment. At the same time, First National Bank had the legal right to refuse to
           pay checks drawn by Duran on accounts in First National Bank and deposited in
           Citizens National Bank. 66

           42.      But FB&T’s factual allegations, even if legally relevant, are wrong on their face.

FB&T alleges that FirstCapital returned and dishonored RAM checks drawn on RAM’s accounts

at FirstCapital totaling $1,091,549 (batch 1 and 2) on August 1st and August 2nd.                Yet,

FirstCapital’s cash letter containing $487,167 (batch 4) in checks drawn on RAM accounts at

FB&T had already gone out on July 30th. Since these events occurred two days apart,

FB&T’s allegation that FirstCapital simultaneously dishonored FB&T’s RAM checks

while FirstCapital presented RAM checks to FB&T for payment is patently false!

           2.       FB&T’s Regulatory Claim Fails.

           43.      FB&T asserts Count 16 based on 12 U.S.C. §4010(f) of the EFFA and 12 C.F.R.

§229.38(a) of Regulation CC. Sections 4007 and 4010 (f) of the EFFA make the point that the

UCC, as well as the EFFA and applicable federal regulations, govern the risk of loss and liability

“in connection with any aspect of the payment system, including the receipt, payment, collection,

or clearing of checks, and any related function of the payment system with respect to checks.” 67

           44.      Section 229.38(a) of Regulation CC, which is contained in Subpart C of that

regulation, provides that, “A bank shall exercise ordinary care and act in good faith in complying

with the requirements of this subpart.” (emphasis added). In other words, there must be a duty

recognized in Subpart C before a bank is obligated to exercise ordinary care or act in good faith.




66
     Citizens National, 347 So. 2d at 967 (emphasis added).
67
     12 U.S.C. §4010(f).

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         45.      In First Financial Bank, N.A. v. Citibank, N.A., No. 1:11-CV-226-WTL-DML,

2012 U.S. Dist. LEXIS 104883 (S.D. Ind. 2012), the court made clear that arguments associated

with failure to comply with an obligation of ordinary care must be tied to recognized duties

under Subpart C.          In that case, the arguments focused on the failure to return checks

expeditiously, failure to provide timely notice of dishonor, and breach of warranty for failure to

meet the midnight deadline, all of which tied to specific provisions of Subpart C. 68

         46.      The depositary bank in First Financial made one argument not tied to Subpart C

based on allegations that the payor bank failed to investigate an earlier suspicious check, and that

if it had done so the losses suffered by the depositary bank could have been reduced. The First

Financial court had this to say about that:

         This argument is specious. As the Court has noted several times, Citibank’s
         liability under 12 C.F.R. §229.38(b) is for the failure to exercise ordinary care in
         complying with the requirements of Regulation CC. First Financial points to no
         provision of Regulation CC that requires Citibank to conduct investigations into
         suspicious items. 69

         47.      In an effort to avoid the conclusion reached in the First Financial case, FB&T

argues in Count 16 that FirstCapital “failed to exercise ordinary care and failed to act in good
                                                                   70
faith by erroneously stating the reason for the check returns.”         In this regard, FB&T alleges

that FirstCapital listed the reason for nonpayment as “uncollected funds.” 71 FB&T argues, in

conclusory fashion, that “the truthful or additional reason for return of the checks to First Bank

was that there were “insufficient funds” in the account for payment.” 72

         48.      Section 229.31(c)(2)(i)(E) requires that, to the extent available, the paying bank

must include the “reason for nonpayment.” FB&T does not quibble with the fact that check

68
   See id, at *8-23 (emphasis added).
69
   Id. at *25.
70
   Amended Complaint, ¶197.
71
   Id. at ¶76.
72
   Id.

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kiting involves uncollected funds, 73 but FB&T assumes, on information and belief, that

“FirstCapital had already set off the balance of funds in RAM’s account there, so the truthful or

additional reason for return of the checks to First Bank was that there were ‘insufficient funds’ in

the account for payment.” 74

         49.      But the purpose for stating a reason for dishonor is not for the benefit of the

depositary bank, it is for the benefit of the customer so it can determine whether it has the basis

for a wrongful dishonor claim against its payor bank. 75

         50.      Indulging FB&T’s argument again, FB&T says that if FB&T had learned on

August 2nd that FirstCapital dishonored batch 1 and batch 2 because of “insufficient funds” as the

reason for dishonoring these 24 RAM checks, FB&T would have been able “to then dishonor

and return checks deposited with the collecting bank.” This refers to the             checks totaling

$487,167 (batch 4) in RAM checks sent by FirstCapital on July 30th to the Federal Reserve and

presented (batch 4) to FB&T on July 31st and which FB&T had to dishonor by midnight on

August 1st. 76

         51.      FB&T admits it did not see FirstCapital’s August 1st return of RAM checks

totaling $1,190,916 (batch 1 and 2) until August 2nd, by which time FB&T’s midnight deadline

on the $487,167 (batch 4) checks had already passed the day before. 77 Hence, the reason for

dishonor could not have impacted what FB&T did or did not do relating to the batch 4

checks since it had already made its decision on batch 4 before it knew of FirstCapital’s

reason for the dishonor of batches 1 and 2.



73
   See generally, id. at ¶¶55-56.
74
   Id. at ¶76.
75
   See Tex. Bus. & Comm Code, §4.402.
76
   Id. at ¶81.
77
   See charts in ¶¶ 4, 5 and 6 for pin citations in Amended Complaint.

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           52.    Pressing further, FB&T says that a “a collecting bank would not conclude that a

check would ultimately not be paid by a payor bank such as FirstCapital if the check was

returned because of ‘uncollected funds’ because a resubmission of the check for payment could

be successful after the subject funds were collected in the meantime.” 78 Of course, the same

can be said for a check returned for insufficient funds.

           53.    Further, it is disingenuous to argue that FB&T would have been jolted into action

upon receipt of $1,190,916 in dishonored checks for “insufficient funds,” but not for “uncollected

funds.” The court need not accept FB&T’s self-serving conclusion when it is obvious that the

number and amount of the returned checks, regardless of the stated reason, gave FB&T notice of

serious questions about the checks contained in batch 1 and 2.

           54.    To the extent FB&T seeks to link its August 2nd or 3rd notice of “reason for

dishonor” issue to checks for which FirstCapital met its midnight deadline (batch 2 and 3), there

was no course of action that FB&T could have taken differently because those checks went out

days earlier in FB&T’s cash letters on July 30th and July 31st, as reflected below:

 Batch          July 30 (Mon.)             July 31 (Tues.)         Aug. 1 (Wed.)        Aug. 2 (Thurs.)
            FB&T sends outgoing         FirstCapital receives   FirstCapital met
            cash letter to Federal      presentment of          midnight deadline to
            Reserve containing          FB&T’s RAM              return and dishonor
     2
            $588,636 in RAM             checks by incoming      FB&T RAM checks
            checks drawn on             Federal Reserve         to Federal Reserve.
            FirstCapital accounts.      Cash letter.
                                        FB&T sends              FirstCapital receives   FirstCapital met
                                        outgoing cash letter    presentment of          midnight
                                        to Federal Reserve      FB&T’s RAM              deadline to
                                        containing $502,908     checks by incoming      return and
     3
                                        in RAM checks           Federal Reserve         dishonor FB&T
                                        drawn on                Cash letter.            RAM checks to
                                        FirstCapital                                    Federal
                                        accounts.                                       Reserve.


78
     Id.

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D.       Courts Routinely Dismiss Common Law Claims.

         1.       The UCC Preempts FB&T’s Common Law Claims

         55.      FB&T also asserts four common law claims against FirstCapital, but because the

UCC and Subpart C pre-empt the field of law in the check clearing process and the allocation of

losses arising from a check kite, the Court should dismiss all of FB&T’s common law claims.

         56.      In Dean v. Commonwealth Bank & Trust Co., 434 S.W.3d 489 (Ky. 2014), the

Kentucky Supreme Court undertook an in-depth analysis of the interplay between the UCC and

the common law in the context of a check kite. The court cited the following Official Comment

to the UCC which recognizes that the common law can supplement the UCC, but it cannot be

used to supplant the UCC or its purposes and policies:

         [T]he Uniform Commercial Code is the primary source of commercial law rules
         in areas that it governs, and its rules represent choices made by its drafters and the
         enacting legislatures about the appropriate policies to be furthered in the
         transactions it covers. Therefore, while principles of common law and equity may
         supplement provisions of the Uniform Commercial Code, they may not be used to
         supplant its provisions, or the purposes and policies those provisions reflect,
         unless a specific provision of the Uniform Commercial Code provides otherwise.
         In the absence of such a provision, the Uniform Commercial Code preempts
         principles of common law and equity that are inconsistent with either its
         provisions or its purposes and policies. 79

         57.      Consistent with this Official Comment, the court noted that “there is a strong

policy in favor of treating the UCC as occupying the field and displacing common-law causes of

action.” 80 The UCC is to be “liberally administered” which “has led many commentators to

conclude that the UCC, as a comprehensive code of law . . . should be read broadly to preempt

common-law and other non-code causes of action.” 81 “The prevailing view now is that when the




79
   Id. at 506 (quoting Uniform Commercial Code §1-103 Official Cmt. 2 (2002))
80
   Dean, 434 S.W. 3d at 505.
81
   Id.

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UCC provides a comprehensive remedy for the parties to a transaction, common-law and other

non-Code claims and remedies should be barred.” 82

         58.      The court concluded “that with respect to the transactions at issue, the UCC

provides a comprehensive remedy, or scheme of remedies. The list of scenarios directly covered

by Articles 3 and 4 is long, and includes . . . [allocation of] losses among banks dealing with

checks that are returned . . . (midnight deadline) [and] the bank’s liability to its customer for

wrongful dishonor.” 83 Further, the court said that Articles 3 and 4 of the UCC were intended to

provide a “comprehensive allocation scheme for check fraud losses.” 84

         59.      Because of the preemptive nature of the UCC, a court need not analyze common

law claims, unless the claims can truly be said to fall into a gap where the UCC’s comprehensive

scheme does not apply. None of FB&T’s claims fall into any of those gaps.

         2.       When Courts Analyze Common Law Claims Alternatively, They Still Fail.

         60.      Any analysis of common law claims has to begin with an understanding that a

bank owes no common law duty to someone who is not a customer and with whom the bank

does not have a relationship. 85 Further, a bank does not owe a common law duty to detect and




82
   Id. at 506.
83
   Id. at 507 (citations omitted).
84
   Id. (quoting A. Brooke Overby, Check Fraud in the Courts after the Revisions to U.C.C. Articles 3and 4, 57 ALA.
L. REV. 351, 398 (2005).
85
   See, e.g., Owens v. Comerica Bank, 229 S.W.3d 544, 547 (Tex. App.–Dallas 2007, no pet.) (“To maintain a
negligence cause of action, a plaintiff must establish a duty owed to it by the defendant . . . Generally a bank owes
no duty to someone who is not a customer and with whom the bank does not have a relationship”); Guerra v.
Regions Bank, 188 S.W.3d 744, 747 (Tex. App.–Tyler 2006, no pet.) (holding that because the plaintiff was not a
customer of the bank and had no other relationship with the bank, the bank owed no duty to the plaintiff as a matter
of law); Ennis State Bank v. Heritage Bank, No. 10-02-226-CV, Tex. App. LEXIS 4355, at *2-3 (Tex. App. - -
Waco, May 12, 2004, pet. denied), at *2-3 (no duty between banks and no duty to discover check kite); Midwestern
Cattle Mktg. v. Legend Bank, N.A., No. 4:17-CV-375-A, 2018 U.S. Dist. LEXIS 82291, at *8 (Tex. App. - - Ft.
Worth, May 16, 2018, appeal pending) (bank owes no duty someone who is not a customer and with whom the bank
does not have a relationship).

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stop a check-kiting scheme to someone who is not a customer and with whom it otherwise does

not have a special relationship. 86

         61.      Even where courts indulge the plaintiff and analyze common law claims in the

check clearing/check kiting context, they find the claims ineffective.                        For example in,

Midwestern Cattle Mktg., LLC v. Legend Bank, N.A., No. 4:17-CV-375-A, 2018 U.S. Dist.

LEXIS 82291 (Tex. App. - - Ft. Worth, May 16, 2018) the court confirmed the absence of a duty

between competing banks to detect and stop a check-kiting scheme. 87 The court also recognized

that this is “in keeping with Texas’s recognition that the UCC has the objective of promoting

certainty and predictability in commercial transactions . . . Recognizing a UCC duty owed to one

outside the UCC scheme would be contrary to the UCC’s goals.” 88                          Even though it was

unnecessary, the court analyzed the common law claims and granted summary judgment against

the depositary bank’s claims under the UCC, as well as all of the common law claims. 89 See also

Citizens National Bank v. First National Bank, 347 So. 2d 964 (Miss. 1977) (court found no duty

running between competing banks outside of the UCC, so the court dismissed the bank’s claims

for conversion, restitution, and constructive trust).

         62.      Similarly, in First National Bank v. Colonial Bank, 898 F. Supp. 1220 (N.D. Ill.

1995), First National suspected its customer was engaged in check kiting, so it immediately

closed accounts and began returning checks presented by Colonial Bank for payment on the


86
   See e.g., Ennis State Bank, 2004 LEXIS 4355, at *5 (rejecting claims that the UCC supports an independent action
for breach of good faith and that there is some other independent general duty of care to stop a check-kiting
scheme); Wells Fargo Bank, N.A. v. Citizens Bank of Texas, N.A., 181 S.W.3d 790, 804 (Tex. App.–Waco 2005, pet
denied) (§ 1.203 (now § 1.304) does not provide an independent cause of action to detect and stop a check-kiting
scheme or any other duty of care to a non-customer absent a special or confidential relationship); Midwestern Cattle
2018 U.S. Dist. LEXIS 82291, at *7 (“ [A] bank does not owe a duty to detect and stop a check-kiting scheme to
someone who is not a customer of the bank or does not otherwise have a special relationship”).
87
   Midwestern Cattle, 2018 U.S. Dist. LEXIS 82291, at *7
88
   Id. at *8.
89
   Id. at *7-15. The court did not initially dismiss a fraudulent transfer claim, but did so by separate order. See
Appendix, Exhibit B, at 043.

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mutual customer’s account. Colonial Bank contended that First National breached its duty of

good faith, but the court noted that “a bank has no good faith obligation to disclose a suspected

kite or to refrain from attempting to shift the kite loss.” 90 Further, the court rejected arguments

that First National was unjustly enriched. 91

         2.       Even if Common Law Claims Were Permissible, these Claims Fail.

                  a.       Money Had and Received/Unjust Enrichment/Restitution (Count 14)

         63.      FB&T asserts a claim for money had and received/unjust enrichment/restitution

by arguing that “RAM and FirstCapital knowingly facilitated a check-kiting scheme, causing

First Bank to suffer $1,595,395.83 in damages.” According to FB&T this “money belongs to

First Bank in equity and good conscience.” 92

         64.      The UCC recognizes a restitutionary remedy as already discussed. 93 Because

FB&T cannot prevail under that UCC provision, its restitution-like claims should be dismissed.

         65.      Given the comprehensive nature of the UCC, few cases address restitutionary

claims and remedies in this context. One such case is Commerce Bank v. First Union National

Bank, 911 A.2d 133 (Pa. Superior Ct. 2006) where two banks were affected by a check kite. The

losing bank complained that the other bank knew or should have known of the check kiting

scheme and should have stopped the kite before the losing bank ever opened an account with the

kiter. The court pointed out that the party that was unjustly enriched was neither of the banks,

but the customer. As the court said, “If anyone possessed funds unjustly, it is presumably [the

customer].” 94



90
   Colonial Bank, at 1230.
91
   Id. at 1228.
92
   Amended Complaint, ¶¶187-189.
93
   See discussion supra at ¶¶35 through 42.
94
   Id. at 143-44. See also, Midwestern Cattle, 2018 U.S. Dist. LEXIS, at*11-12 (court denied money had and
received claim in connection with a check kiting scheme while noting that ownership of check proceeds is an

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         66.      The same is true in this case. It is neither FirstCapital nor FB&T that is being

unjustly enriched, it is RAM that was unjustly enriched because it had the benefit of other

people’s money as a result of the check kiting scheme.

                  b.       Conversion (Count 15)

         67.      An action for conversion of money exists only when the money is “(1) delivered

for safekeeping; (2) intended to be kept segregated; (3) substantially in the form in which it is

received or in an intact fund; and (4) not the subject of a title claim by the keeper.” 95 Money can

be the subject of a conversion claim only if it can be identified as a specific chattel, and a claim

will not lie “where an indebtedness can be discharged by a payment of money generally.” 96

Thus, when an indebtedness can be discharged by payment of money, a conversion action is

inappropriate. 97

         68.      FB&T merely recites the basic the elements of conversion without any factual

allegations to support the legal conclusions. 98 Moreover, FB&T has not alleged the necessary

elements specific to a claim for conversion of money. 99 For example, FB&T did not allege that

FB&T provided money to FirstCapital for safekeeping and intended it to be kept segregated in an

intact fund. 100 Moreover, FB&T did not identify specific monies in dispute. 101 As such, FB&T

has failed to state a claim for conversion of money.

                  c.       Conspiracy to Commit Fraud and Aiding and Abetting Fraud
                           (Counts 19 and 20)

essential element so that any claim to ownership of proceeds of check would be the depositor, not the depositary
bank).
95
   Newsome v. Charter Bank Colonial, 940 S.W.2d 157, 161 (Tex. App. - Houston [14 Dist.] 1996, writ denied); see
also Taylor Pipeline Constr., Inc. v. Directional Road Boring, Inc., 438 F. Supp. 2d 696, 707 (E.D. Tex. 2006)
(quoting Mitchell Energy Corp. v. Samson Res. Co., 80 F.3d 976, 984 (5th Cir. 1996)).
96
   Mitchell Energy Corp. v. Samson Res. Co., 80 F.3d 976, 984 (5th Cir. 1996).
97
   Id. See Edlund v. Bounds, 842 S.W.2d 719, 727 (Tex. App. - Dallas 1992, writ denied); Gronberg v. York, 568
S.W.2d 139, 144-45 (Tex. Civ. App. - Tyler 1978, writ ref'd n.r.e.).
98
   Amended Complaint, ¶¶191-193.
99
   Id.
100
    See generally, id.
101
    See generally, id.

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          69.     FB&T alleges that FirstCapital conspired and aided and abetted RAM in a

fraudulent scheme to ensure that FB&T would continue to provide provisional credit to RAM,

presumably knowing from insider information received from RAM that FB&T’s provisional

credits would never be paid. 102

          70.     “In alleging fraud or mistake, a party must state with particularity the

circumstances constituting fraud or mistake.” 103 At a minimum, a plaintiff must plead “the who,

what, when, and where” of the alleged fraud to satisfy Rule 9(b). 104

          71.     The only allegation made with particularity by FB&T regarding supposed insider

information upon which its fraud-based claims are based is one made on information and belief

that, “on or before Tuesday, July 31st, Dykes met with Defendant B. Burgess, FirstCapital’s

CEO, and Defendant K. Burgess, FirstCapital’s Chairman to ask them for financial assistance

through loans and warn them of Ford’s impending legal action, Reagor-Dykes’ severe financial

problems, and Reagor-Dykes’ planned bankruptcy filing.” 105

          72.     The allegations that follow reflect nothing other than lawful, prudent actions

taken by FirstCapital officers to discharge their fiduciary duties to protect the interests of

FirstCapital. 106 Contrary to the allegations of FB&T, FirstCapital did nothing to “ensure First

Bank continued to provide provisional credit to RAM.” The decision to provide provisional

credit was a decision made exclusively by FB&T without any assertion or contention that

FirstCapital did or said anything to induce or encourage FB&T to do either before, on or after

July 31st. In fact, FirstCapital brought the check kite to a close, once and for all, by closing

RAM accounts and returning checks. At that point, the UCC system for allocating the inevitable

102
    Amended Complaint, ¶¶212, 216.
103
    FED. R. CIV. 9(b).
104
    Giancarlo v. UBS Fin. Servs. Inc., 725 F. App’x 278, 282 (5th Cir. 2018).
105
    Amended Complaint, ¶66.
106
    See generally, Amended Complaint, ¶¶67-80.

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losses built into the check kiting scheme kicked in and resulted in the cessation of the extension

of any further provisional credits by all banks caught up in the scheme.

                                        III.   CONCLUSION

         73.      The provisions of the UCC and applicable regulations determine the outcome of

this case. The claims asserted by FB&T relate to two batches of checks dishonored and returned

by FirstCapital before its midnight deadline, and one batch of checks that FB&T dishonored and

returned after its midnight deadline. Nothing in the law requires FirstCapital to look out for the

best interests of FB&T; in fact, the law compels FirstCapital to look out for its best interests.

Therefore, the Court should dismiss all claims asserted by FB&T, including their claims for

punitive damages and attorney’s fees.

                                               Respectfully submitted,

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                                        CERTIFICATE OF SERVICE

         I hereby certify that on October 11, 2018, I electronically filed the foregoing document
with the clerk of court using the electronic filing system. The electronic filing system will send a
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